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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                                        CIVIL ACTION FILE
v.
                                                        No. 1:18-CV-5391-SCJ
BRAD RAFFENSPERGER, et al.,

     Defendants.


                                           ORDER

        This matter appears before the Court on Defendants’ Motion for Summary

Judgment concerning the substantive merits of the case. Doc. Nos. [450]; [623].1

On March 31, 2021, this Court entered an Order granting the motion in part,

denying the motion in part, staying the motion in part, and finding the motion

moot in part. Doc. No. [617]. The Court stayed Defendants’ Motion as to Count

V of the Second Amended Complaint relating to Section 2 of the Voting Rights

Act of 1965 (“VRA”), 52 U.S.C. § 10301, pending a decision of the United States




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
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Supreme Court in Arizona Republican Party v. Democratic National Committee,

141 S. Ct. 221 (Mem.) (2020) (No. 19-1258). See id. at 95. That case was

consolidated with Brnovich v. Democratic National Committee, 141 S. Ct. 222

(Mem.) (2020) (No. 19-1257).

        The United States Supreme Court issued its opinion in Brnovich on

July 1, 2021. See Brnovich, --- U.S. ----, 141 S. Ct. 222 (2020). Thus, on July 2, 2021,

the Court ordered Defendants to re-brief their motion for summary judgment on

Plaintiffs’ Section 2 claims in light of Brnovich. Doc. No. [621]. Defendants filed

their Renewed Motion for Summary Judgment on Plaintiffs’ Section 2 claims on

July 21, 2021. Doc. No. [623]. Plaintiffs responded in opposition on August 10,

2021. Doc. No. [627]. Defendants replied on August 24, 2021. Doc. No. [630]. The

matter is now ripe for this Court’s review.

I.      BACKGROUND

        Plaintiffs Fair Fight Action, Inc., Care in Action, Inc., Ebenezer Baptist

Church of Atlanta, Georgia, Inc., Baconton Missionary Baptist Church, Inc.,

Virginia-Highland Church, Inc., and The Sixth Episcopal District, Inc.

(collectively, “Plaintiffs”) first filed this lawsuit on November 27, 2018. Doc. No.

[1]. Since then, Plaintiffs have twice amended their Complaint (Doc. Nos. [41];


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[582]), and the Court dismissed several of Plaintiffs’ original claims. Doc. No. [68].

Plaintiffs’ Second Amended Complaint for Declaratory and Injunctive Relief

brings certain claims against Defendants Brad Raffensperger (in his official

capacity as Secretary of State of the State of Georgia (the “SOS” or the

“Secretary”) and as Chair of the State Election Board of Georgia), Members of the

State Election Board in their official capacities (Rebecca N. Sullivan, David J.

Worley, Matthew Mashburn, and Anh Le), and the State Election Board

(collectively, “Defendants”). Doc. No. [582].

      In their Second Amended Complaint, Plaintiffs allege that in the 2018

General Election, Defendants “enforced unconstitutional and otherwise unlawful

legislation, created and enforced unconstitutional and otherwise unlawful

policies, and engaged in gross mismanagement that resulted in an election that

deprived Georgia citizens, and particularly citizens of color, of their fundamental

right to vote.” Id. ¶ 2. Plaintiffs assert that Defendants’ actions violated the First,

Fourteenth, and Fifteenth Amendments to the United States Constitution, as well

as Section 2 of the VRA. Id. ¶ 3.

      On June 10, 2020, upon Defendants’ request, the Court informed the parties

that they would be allowed to file two separate summary judgment motions for


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purposes of addressing jurisdictional and substantive/merits issues. Doc. No.

[379]. The Court ruled on the jurisdictional motion on February 16, 2021 (Doc.

No. [612]) and the merits motion on March 31, 2021 (Doc. No. [617]). As

mentioned supra, it stayed Defendants’ motion as to Plaintiffs’ Section 2 claims

pending the decision in Brnovich. After permitting the parties to re-brief the

issue, the Court now turns to it.

       A.    Statement of Facts

       A full recitation of the material facts in this case can be found in the Court’s

two previous summary judgment orders. Doc. Nos. [612]; [617]. Defendants’

Motion for Summary Judgment on Plaintiffs’ Section 2 claims addressed several

state election policies (training on in-person absentee ballot cancellations, exact

match, and the accuracy of Georgia’s registered voter list). See Doc. No. [623], 3.

However, Plaintiffs concede in their response to Defendants’ motion that the

“sole question before this Court regarding Section 2 is whether Plaintiffs’

challenge to Exact Match can proceed.”2 Doc. No. [627], 14.



2  As stated in Plaintiffs’ brief, “Plaintiffs have not argued the SOS’s voter list
inaccuracies or the inadequate training on absentee ballot cancellations—the only two
other challenged policies that remain in the case—violate the VRA. And the remaining
VRA claims are no longer in the case because of the Court’s earlier summary judgment
rulings.” Doc. No. [627], 14 n.6.
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       The Court makes the following findings of fact for the purpose of resolving

the pending motion for summary judgment. In doing so, the Court derives the

facts from the admitted portions of the parties’ statements of material facts and

the Court’s own review of the record. Doc. Nos. [451] (Defendants’ Statement of

Material Facts) (“DSMF”); [628] (Plaintiffs’ Statement of Material Facts for VRA

Section 2 Claims) (“PSMF”).

       The Court resolved the parties’ objections to each other’s facts as it

reviewed the record.3 If a party admitted a fact in part, the Court includes the

substance of the undisputed part. If a party denied a fact in whole or in part, the

Court reviewed the record to determine if a dispute exists and if it is material.

The Court excludes facts, or parts of facts, that are legal conclusions, immaterial,

inadmissible at trial, or not supported by citation to record evidence. See LR

56.1(B)(2)(a)(2), NDGa. With that in mind, the Court sets forth the following facts




3 As the Court noted in its prior order, because nearly every paragraph of the parties’
submitted material facts has been objected to, the Court will not follow its usual practice
of addressing individual objections for each item of material evidence. The Court
further notes that most of the objections are hearsay objections. The Court has resolved
said objections in accordance with applicable law by considering any declaration or
document that can be reduced to an admissible form at trial. See Doc. No. [617], 26–28.
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for purposes of the pending Motion for Partial Summary Judgment as it relates

to Plaintiffs’ Section 2 (“Exact Match”) claim.

             1.     History of Exact Match

       The term “Exact Match” means the voter verification program for voter

registration application data, including citizenship status, used by the State of

Georgia to meet the requirements of the Help America Vote Act, 52 U.S.C.

§ 21083(a)(5). Doc. No. [617], 11; see also Doc. No. [510-14] (Pl. Ex. 1007).4

       The Help America Vote Act (“HAVA”), passed by Congress in 2002,

requires that

             The chief State election official and the official
             responsible for the State motor vehicle authority of a
             State shall enter into an agreement to match
             information in the database of the statewide voter
             registration system with information in the database of
             the motor vehicle authority to the extent required to
             enable each such official to verify the accuracy of the
             information provided on applications for voter
             registration.




4 For purposes of this Order, the Court uses the term “Exact Match.” However, the
Court recognizes that the same practice is sometimes referred to as “HAVA Match” by
Defendants in reference to the Help America Vote Act, 52 U.S.C. § 21083(a)(5)
identification requirements. Plaintiffs do not agree that HAVA requires the “Exact
Match” procedures in use by the State of Georgia. See Doc. No. [492], 31.
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52 U.S.C. § 21083(a)(5)(B).5

       While HAVA requires a matching process, it does not say what the

consequences of failing a match are on voter registration. Doc. No. [507-1], Pl. Ex.

26, R. Germany Dep. 123:1–3. The State of Georgia has, however, imposed

consequences, which are addressed below.6 According to SOS General Counsel,

Ryan Germany, the purpose of Exact Match “is to make sure that it’s a real person

and that you’re getting accurate information.” PSMF ¶ 591.

       In 2009, the United States Department of Justice (“DOJ”) denied

preclearance to Georgia’s Exact Match program. PSMF ¶ 406; see also Doc. No.

[510-14], 143–147 (Pl. Ex. 1007).7 The DOJ explained that the program “does not

produce accurate and reliable information” and cited testimony “that an error as

simple as transposition of one digit of a driver license number can lead to an

erroneous notation of a non-match across all compared fields.” Id. In denying



5 “HAVA represents Congress’s attempt to strike a balance between promoting voter
access to ballots on the one hand and preventing voter impersonation fraud on the other.”
Fla. State Conf. of NAACP v. Browning, 522 F.3d 1153, 1168 (11th Cir. 2008).
6 The Eleventh Circuit has indicated that HAVA “does not seem to prohibit states from
implementing” matching as a requirement of voter registration. Id.
7 Prior to 2013 and the United States Supreme Court’s decision in Shelby County v.
Holder, 570 U.S. 529 (2013), certain states, including Georgia, needed to seek
preclearance from the DOJ for new voting changes.
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preclearance, the DOJ noted that “[t]he impact of these errors falls

disproportionately on minority voters.” Id.

      In 2010, Georgia again sought preclearance of its Exact Match procedures

based upon a revised verification process that called for daily monitoring of the

voter verification process and prompt notice to applicants who could not be

verified. PSMF ¶¶ 409–410. The DOJ indicated that it did not intend to object to

Georgia’s implementation of the revised verification process. Id. (citing Georgia

v. Holder, 748 F. Supp. 2d 16, 18 (D.D.C. 2010) (“On August 16, 2010, [Georgia]

amended its complaint to reflect that it had revised its proposed Verification

Process. That same day, [the United States Attorney General] notified the Court

that after having ‘conferred extensively with Plaintiff State of Georgia concerning

this matter since the fall of 2008,’ and having reviewed the revised proposed

verification process, it no longer opposed preclearance by the Court. Then, on

August 18, 2010, the [DOJ] informed [Georgia] that it did not intend to object to

implementation of the revised Verification Process.”) (citations omitted)).

      Despite the DOJ’s non-objection to a revised verification process, since

2010, there have been additional legislative enactments pertaining to voter




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registration, HB 268 and HB 316,8 a 2018 notice of disproportionate impact letter

from the NAACP to the State of Georgia, and two voting rights lawsuits

challenging Georgia’s “Exact Match policy”—one of the lawsuits resulted in a

settlement and the second resulted in a preliminary injunction and remains

pending. See NAACP v. Kemp, No. 2:16-cv-00219-WCO (N.D. Ga. 2017); Ga. Coal.

for People’s Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251, 1258 (N.D. Ga. 2018)

(referencing the settlement agreement in the 2016 case and issuing a preliminary

injunction by stating “[p]laintiffs have shown a substantial likelihood of success

on the merits of their claim that Defendant [then-Secretary of State, Brian Kemp]

is violating the right to vote, as guaranteed by the First and Fourteenth

Amendments to the United States Constitution, for individuals Defendant has

flagged and placed into pending status due to citizenship. The election scheme

here places a severe burden on these individuals.”);9 see also PSMF ¶¶ 430, 433,




8 HB 268 was enacted in 2017. PSMF ¶ 426. HB 316 was enacted “on or about April 2,
2019,” after this lawsuit was filed. Doc. No. [492] ¶ 29.
9 As both lawsuits were filed in the Northern District of Georgia, the Court takes judicial
notice of these filings pursuant to Federal Rule of Evidence 201. See United States v. Rey,
811 F.2d 1453, 1457 n.5 (11th Cir. 1987) (“A court may take judicial notice of its own
records and the records of inferior courts.”).
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609; see generally Doc. Nos. [339], Expert Report of P. McCrary; [510‑8], 7–19 (Pl.

Ex. 644, p. 22); [510-8], 22 (Pl. Ex. 645).

              2.     Exact Match Process

       The parties dispute whether Exact Match is currently codified law in the

State of Georgia. Doc. No. [532] ¶ 426. While the record shows that two Georgia

statutes, O.C.G.A. §§ 21-2‑216(g) and -220.1, concern voter registration

documentation requirements and required evidence of citizenship to register to

vote, Plaintiffs assert that the matching process to verify the identity of the

applicant (utilizing data from the Georgia Department of Driver Services

(“DDS”) and Social Security Administration (“SSA”)) is actually an internal

procedure of the SOS. Plaintiffs’ Response to DSMF ¶¶ 135–136. However, the

SOS’s designee, Chris Harvey, indicated at his deposition that he believed that it

was correct to say that there is no written standard issued by the SOS that

explains what a match is. Doc. No. [507-1], Pl. Ex. 23, C. Harvey Dep. 253:15–19.

       There is also conflicting evidence as to how the entire process works. PSMF

¶ 415 (citing Doc. No. [238], 10). However, some parts of the process are

undisputed. More specifically, it is undisputed that there is an overnight

electronic process whereby the following fields from paper voter registration


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applications are checked against the DDS database: “first name, last name, date

of birth, driver’s license number, and social security number.” DSMF ¶ 140. It is

also undisputed that if an individual does not have a driver’s license, the

information is compared to SSA records for verification by using the last four

digits of the individual’s social security number. PSMF ¶ 419; Plaintiffs’ Response

to DSMF ¶ 141. The process also compares the registrant’s citizenship status as it

was presented to DDS.10 According to Plaintiffs’ voting rights expert, Dr. Peyton

McCrary, under an information-sharing agreement between DDS and the SOS,

“DDS was . . . to flag any individual whose information did not exactly match in

this process as unverified.” Doc. No. [339], 56.

         Prior to the passage of HB 316 in 2019, if an applicant’s information did not

match that which was on file with DDS or the SSA (if no driver’s license number

was used to register), his or her registration would be placed in “pending” status

and eventually rejected after twenty-six months in “pending” status without a

cure. DSMF ¶¶ 143, 151.11 The parties dispute whether an applicant placed in



10 Plaintiffs dispute whether the DDS citizenship check is reliable. Plaintiffs’ Response
to DSMF ¶ 142.
11 Plaintiffs offer evidence that the rejection clock has not consistently been set at
twenty-six months. Plaintiffs’ Response to DSMF ¶ 151.
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“pending” status could provide a photo ID at the polls, cure the verification issue,

and vote normally thereafter. Plaintiffs’ Response to DSMF ¶ 144.

      According to Defendants, following the passage of HB 316, an applicant

who registers using a paper application, and whose information cannot be

verified (for a basis other than citizenship), is placed in Missing Identification

Required (“MIDR”) status, which means the applicant will have to provide valid

photo ID to complete the registration process but is nevertheless considered an

active voter and issued a precinct card. DSMF ¶¶ 145–146. Plaintiffs dispute

whether this is how the process actually works in practice and whether SOS

guidance is clear that applicants in MIDR status must provide “valid photo ID”

to complete their registrations. Plaintiffs’ Responses to DSMF ¶¶ 145–146, 148.

      Individuals flagged as potential non-citizens are placed in pending status

and not added to the voter rolls. PSMF ¶ 436; see also Doc. No. [507-1], Pl. Ex. 23,

C. Harvey Dep. 243:21–24. Applicants in pending status for citizenship must

produce documentary proof of citizenship to become an “active voter,” and their

registration will be rejected if they cannot do so within twenty-six months. PSMF

¶¶ 450, 495; see also Doc. No. [510-5], 116.




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            3.     Notification of Verification Failure

      Prior to the passage of HB 316, applicants would receive a notification

letter, triggering a forty-day clock to provide the necessary documentation or

have their registrations cancelled. PSMF ¶ 422. SOS training materials appear to

provide for letter notifications after HB 316. Doc. No. [507-2], 24–25. However,

Plaintiffs’ evidence shows that some voters received notification of the

verification failure only after they called their county registrar’s office (or the

SOS) to inquire. PSMF ¶¶ 503, 509–511 (citing Doc. No. [508-7], 269, Pl. Ex. 480).

            4.     Errors in the Exact Match Process

      Plaintiffs’ voter registration expert, Dr. Kenneth R. Mayer, wrote in his

report that there is “no unique identifier in” the data sets linked in the voter

verification process and “[e]xact-match linkage using combined data attributes is

likely to produce false nonmatches, particularly when alphanumeric data are

used, and even more likely when names are used.” Doc. No. [238], 13. Dr. Mayer

also wrote in his report that an individual can be flagged for verification failure

even for “a minor mistake on a registration form, such as a one-character

difference in spelling or spacing in a name, an apostrophe, a misplaced hyphen

or a typographical error.” Id. at 6. Nonmatches may also result from errors made


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by Georgia election officials manually entering information from paper

registration applications. Id.; see also Defendants’ Response to PSMF ¶ 418.

         The General Counsel for the SOS testified in his deposition that the error

rate for the SSA match process (using the last four digits of the individual’s social

security number) “seems pretty ridiculous,” and he also thought the rates were

“20 or 30 percent.” Doc. No. [507-1], 1148, Pl. Ex. 26, R. Germany Dep. 91:15–17.

         It is also undisputed that a registration application may be placed in

“pending” status for non-citizenship based on outdated information. PSMF

¶ 418; Defendants’ Response to PSMF ¶ 418; Doc. No. [238], 6. As Defendants

acknowledge in their briefing, “an applicant may be placed in ‘pending’ status if

information on file with DDS affirmatively indicates that the applicant has

provided documents to DDS in the past showing that he or she is not a United

States citizen.” Doc. No. [630], 4. 12 Thus, if an applicant was naturalized as a



12   As stated by Plaintiffs’ expert,
                non-U.S. citizens are eligible for a Georgia driver’s license or
                state ID card if they are legally present in the country . . . . If
                a noncitizen obtains a license or ID, their noncitizenship
                status at that time is recorded in DDS files. If that person
                later naturalizes, they are not required to update their
                information with DDS, but will continue to be flagged as
                noncitizens by the DDS verification process if they register

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United States citizen after the applicant obtained a driver’s license with DDS

while a non-citizen, the applicant may be erroneously flagged as a non-citizen

during the post-naturalization voter registration process. PSMF ¶ 440;

Defendants’ Response to PSMF ¶ 418; Doc. No. [507-1], 1161 (Dec. 11, 2019

Germany Dep.) Tr. 125:11–23 (confirming that “the DDS record may well show

that [a newly naturalized citizen] ha[s] a driver’s license but [is]n’t a citizen”).

               5.    Rates of Failure

         Plaintiffs’ expert, Dr. Mayer, identified particular processes that he said

“produce higher verification failure rates and noncitizenship flags for minority

registrants compared to non-Hispanic White registrants.” DSMF ¶ 168. 13 The

SOS’s General Counsel has testified concerning the SOS’s awareness as follows:

“of the [records] that failed verification, I would say our office was aware that it



               to vote unless they present naturalization documents at the
               time they register.

Doc. No. [238], 5.
13 Dr. Mayer was not, however, able to say if this disparity was the result of people
improperly failing verification, because he could not determine “whether someone is in
that status and shouldn’t be.” DSMF ¶ 169. Dr. Mayer further stated that he is
“absolutely certain” that the number of people incorrectly placed in MIDR or pending
status “was greater than zero” and that this was “not a matter of belief, [but] a matter
of certainty.” Plaintiffs’ Response to DSMF ¶ 169 (citing Doc. No. [412], Mayer Dep.
41:24–43:22)).
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was a largely African American population.” PSMF ¶ 612; see also PSMF 610

(describing a SOS analysis of the pending voter list).14

         B.    Defendants’ Motion for Summary Judgment

         Defendants argue that summary judgment is proper on Plaintiffs’ Section 2

claim because Plaintiffs “have not presented evidence that the election system in

Georgia is not ‘equally open’ to participation by individuals of all races.” Doc.

No. [623], 1. First, they argue that “the burden of being misidentified due to a[n]

[Exact Match] issue is low and more consistent with the ‘usual burdens of voting’

like showing a photo identification.” Id. at 14 (quoting Brnovich, 141 S. Ct. at

2338). Second, they argue Exact Match is an “extension” of longstanding

requirements that county registrars verify whether an individual is eligible to

vote. Id. at 15. Third, they argue that the disparate impact of Exact Match “is the

same kind of small amount that does not, itself, establish a Section 2 violation.”

Id. at 16.




14Additional facts will be set forth as they become necessary for discussion of Plaintiffs’
Section 2 claim and the issues presented in Defendants’ Renewed Motion for Summary
Judgment.
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II.   LEGAL STANDARD

      Federal Rule of Civil Procedure 56(a) provides “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.”

      A fact is “material” if it is “a legal element of the claim under the applicable

substantive law which might affect the outcome of the case.” Allen v. Tyson

Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997). A factual dispute is genuine if the

evidence would allow a reasonable jury to find for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      The moving party bears the initial burden of showing the court, by

reference to materials in the record, that there is no genuine dispute as to any

material fact that should be decided at trial. Hickson Corp. v. N. Crossarm Co.,

357 F.3d 1256, 1260 (11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986)). The moving party’s burden is discharged merely by “showing—that

is, pointing out to the district court—that there is an absence of evidence to

support [an essential element of] the nonmoving party’s case.” Celotex Corp., 477

U.S. at 325 (internal quotations omitted).




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      In determining whether the movant has met this burden, the district court

must view the evidence and all factual inferences in the light most favorable to

the nonmoving party. Johnson v. Clifton, 74 F.3d 1087, 1090 (11th Cir. 1996). “In

doing so, the district court may not weigh the evidence or find facts. Nor may the

court make credibility determinations of its own.” Ga. State Conf. of NAACP v.

Fayette Cnty. Bd. of Comm’rs, 775 F.3d 1336, 1343 (11th Cir. 2015) (internal

quotations and citations omitted). Further, “mere conclusions and unsupported

factual allegations are legally insufficient to defeat a summary judgment motion.”

Ellis v. England, 432 F.3d 1321, 1326 (11th Cir. 2005) (per curiam) (citation

omitted); Jefferson v. Sewon Am., Inc., 891 F.3d 911, 924–25 (11th Cir. 2018)

(holding that “conclusory allegations without specific supporting facts have no

probative value”).

      Once the movant has adequately supported its motion, the nonmoving

party then has the burden of showing that summary judgment is improper by

coming forward with specific facts showing a genuine dispute. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Celotex Corp., 477 U.S.

at 324 (requiring the nonmoving party to “go beyond the pleadings” to establish

that there is a “genuine issue for trial”). All reasonable doubts should be resolved


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in the favor of the nonmovant. Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115

(11th Cir. 1993). When the record as a whole could not lead a rational trier of fact

to find for the nonmoving party, there is no “genuine [dispute] for trial.” Id.

(citations omitted).

       As with its prior summary judgment orders, the Court approaches this

case “with caution, bearing in mind that these circumstances involve ‘one of the

most fundamental rights of . . . citizens: the right to vote.’” Ga. State Conf. of

NAACP, 775 F.3d at 1345 (citations omitted). The Court also recognizes that the

Eleventh Circuit has held that summary judgment in Section 2 cases “presents

particular challenges due to the fact-driven nature of the legal tests required by

the Supreme Court and [Eleventh Circuit] precedent” and that “[n]ormally,

claims brought under [Section 2] of the VRA are resolved pursuant to a bench

trial.” Id. at 1343, 1348. However, “[i]t is irrefutable that a motion for summary

judgment can—and should—be granted when the conditions of Rule 56 are met.”

Greater Birmingham Ministries v. Sec’y of State for Ala., 966 F.3d 1202, 1221 (11th

Cir. 2020).

III.   DISCUSSION

       Section 2 of the Voting Rights Act provides:


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          (a)   No voting qualification or prerequisite to voting or
                standard, practice, or procedure shall be imposed or
                applied by any State or political subdivision in a
                manner which results in a denial or abridgement of
                the right of any citizen of the United States to vote
                on account of race or color, or in contravention of the
                guarantees set forth in section 10303(f)(2) of this title,
                as provided in subsection (b).

          (b)   A violation of subsection (a) is established if, based
                on the totality of circumstances, it is shown that the
                political processes leading to nomination or election
                in the State or political subdivision are not equally
                open to participation by members of a class of
                citizens protected by subsection (a) in that its
                members have less opportunity than other members
                of the electorate to participate in the political process
                and to elect representatives of their choice. The
                extent to which members of a protected class have
                been elected to office in the State or political
                subdivision is one circumstance which may be
                considered: Provided, That nothing in this section
                establishes a right to have members of a protected
                class elected in numbers equal to their proportion in
                the population.

52 U.S.C. § 10301 (emphasis in statute). “The key requirement is that the political

processes leading to nomination and election (here, the process of voting) must

be ‘equally open’ to minority and non-minority groups alike.” Brnovich, 141 S.

Ct. at 2337. Because § 2(b) defines what is needed to show a violation of § 2(a), as

the Supreme Court recently clarified, “equal openness and equal opportunity are


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not separate requirements. Instead, equal opportunity helps to explain the

meaning of equal openness.” Id. at 2337–38.

         A.    Applicability of Brnovich Guideposts and Gingles Factors

         Before it turns to Defendants’ Motion, the Court must address the

applicability of Brnovich and, more broadly, what legal analysis it will

undertake. Plaintiffs argue that Brnovich “expressly cabins its reach to time,

place, and manner restrictions” and thus “is of limited relevance” to Plaintiffs’

Section 2 claim concerning Exact Match. Doc. No. [627], 17 (citing Brnovich, 141

S. Ct. at 2333). Plaintiffs further argue that the Court should analyze this issue

under the factors provided for in Thornburg v. Gingles, 478 U.S. 30 (1986). See id.

at 18–21.15 Defendants counter that Brnovich, not Gingles, controls. See Doc. No.

[630], 8. For the reasons discussed below, the Court finds that it must conduct its

analysis using relevant guideposts and factors from both Brnovich and Gingles.

         Congress amended Section 2 in 1982 “to make clear that a violation could

be proved by showing discriminatory effect alone and to establish” a new legal

standard for Section 2 claims. Gingles, 478 U.S. at 34–35. Gingles provided the




15Plaintiffs also argue, however, that they survive summary judgment even if the Court
were to incorporate Brnovich into its analysis. Doc. No. [627], 21–29.
                                        21
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Supreme Court its first opportunity to construe Section 2 as amended. Id. at 34.

In its decision, the Court set out a “non-exhaustive list of factors” to consider in

a “totality of the circumstances” analysis for vote-dilution claims. See Brnovich,

141 S. Ct. at 2333 (citing Gingles, 478 U.S. 30).16 Before Brnovich, the Supreme

Court only considered how Gingles applied to Section 2 vote-dilution claims. Id.

During the intervening period, lower courts evaluated vote-denial claims using

Gingles. Id. at 2333 n.6. Brnovich was the first time that the Supreme Court

granted certiorari on a Section 2 vote-denial case. Id. As such, Brnovich was the

Supreme Court’s first opportunity to develop a mode of analysis for Section 2

vote-denial claims, and it did so specifically in the context of “time, place, and

manner” voting rules. Id. at 2333, 2340. In Brnovich, the Supreme Court

maintained that Section 2 requires a “totality of circumstances” analysis, and it

stated that “any circumstance that has a logical bearing on whether voting is

‘equally open’ and affords equal ‘opportunity’ may be considered.” See id. at




16  These “Gingles” or “Senate” factors include the history of discrimination in the
relevant state, the extent to which voting in the state is racially polarized, and the history
of voting-related discrimination in the state, among others. Gingles, 478 U.S. at 44–51,
80. The Court discusses relevant factors in greater depth below.
                                            22
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2338. More specifically, however, the Supreme Court offered five “guideposts”

to consider for “time, manner, and place” cases. Id. at 2337–40.17

         To the extent Plaintiffs argue that Brnovich most directly addresses

Section 2 claims “involving rules . . . that specify the time, place, or manner for

casting ballots,” Brnovich, 141 S. Ct. at 2336, the Court agrees. But the Court does

not agree that the “guideposts” enumerated in Brnovich are inapplicable to the

Exact Match claim. To be sure, Plaintiffs’ claim does not concern the type of “time,

manner, and place” policies that were at issue in Brnovich. But at base, it is still a

vote-denial claim, and Brnovich stands as the Supreme Court’s sole guidance on

vote-denial claims.18 Ultimately, this Court must analyze Section 2 claims under

the guidance handed down to it by the appellate courts. To that end, as much as

the Court agrees that the claims at issue in Brnovich are in some respects

distinguishable from the claim here, the Court cannot agree that it—or Gingles—


17   The Court discusses these guideposts in greater depth below.
18 Indeed, the Court finds that the guideposts enumerated in Brnovich were intended
broadly to address Section 2 claims that cannot be characterized as vote-dilution claims.
See Brnovich, 141 S. Ct. at 2340. Because most Section 2 precedent involves vote-dilution
claims, it was necessary for the Supreme Court to provide guidance on Section 2
challenges that cannot be categorized as vote-dilution claims. See Brnovich, 141 S. Ct. at
2333, 2340 (stating that the Supreme Court had “heard a steady stream of § 2 vote-
dilution cases” and noting the “relevance” of Gingles and the Senate factors is “much
less direct” in cases that do not allege vote dilution).
                                          23
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is irrelevant or does not apply to this case.19 Instead—and especially considering

both Gingles and Brnovich encourage lower courts to consider the totality of the

relevant circumstances—this Court finds it prudent to center its analysis on the

Brnovich guideposts and Gingles factors that are most relevant to the Exact

Match claim.

         Other considerations support drawing from both decisions. For example,

the Court in Brnovich engaged in a lengthy discussion of the history and text of

Section 2. See Brnovich, 141 S. Ct. at 2336–38. That discussion is relevant here.

Further, the Court in Brnovich expressly stated that it declined to “announce a

test to govern all” Section 2 challenges, that courts are “require[d]” to consider

“the totality of the circumstances,” and that the Gingles factors should not



19 For instance, Plaintiffs argue that Exact Match is distinguishable from the policies
challenged in Brnovich because “Exact Match regulates who may vote in elections—only
those whose voter registration applications exactly match government records,” (Doc.
No. [627], 18 (emphasis in original)), whereas Brnovich addressed challenges to policies
that “govern how ballots are collected and counted” (Brnovich, 141 S. Ct. at 2330, 2333)
(emphasis added)). In Brnovich, one challenged policy required that in-person election
day ballots be cast in the voter’s assigned precinct. 141 S. Ct. at 2330. Thus, both here
and in Brnovich, the result of the challenged policy is that an otherwise eligible voter is
prevented from voting or having their ballot counted. In other words, both cases involve
vote-denial claims. Even if the way the denial occurs is distinguishable, the Exact Match
claim involves allegations that Defendants’ policy resulted in the denial of voters’ right
to vote. The Court will not ignore recent guidance from the Supreme Court regarding
how to analyze vote-denial claims.
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necessarily be disregarded. Id. at 2336, 2340.20 Combining that instruction with

the Eleventh Circuit’s observation that these cases are “fact-driven” and require

consideration of “all relevant evidence,” Ga. State Conf. of NAACP, 775 F.3d at

1348, this Court finds it should tailor its analysis to the facts at issue.21

         Thus, the Court proceeds with a totality of the circumstances analysis of

Plaintiffs’ Exact Match claim under the relevant Brnovich guideposts and Gingles

factors. The Court will first discuss each of the Brnovich guideposts: (1) the size

of the burden imposed; (2) the deviation from standard practice in 1982; (3) the

size of the disparity of the burden; (4) other available means of voting; and (5) the

strength of the state interest. The Court will then discuss the following relevant

factors from Gingles: (1) the history of official discrimination in Georgia; (2)

whether there is racially polarized voting in Georgia; (3) voting practices and




20 In particular, the Court stated that certain Gingles may be relevant to vote-denial
claims insofar as they “show that minority group members suffered discrimination in
the past . . . and that effects of that discrimination persist.” Brnovich, 141 S. Ct. at 2340.
21 Notably, although the Supreme Court issued its decision in Brnovich mere months
ago, this Court is already not alone in determining that the fact-specific nature of
Section 2 claims may require courts to draw factors from both Gingles and Brnovich.
See Fla. State Conf. of NAACP v. Lee Nat’l Republican Senatorial Comm., No.
4:21CV187-MW/MAF, 2021 WL 4818913, at *17–19 (N.D. Fla. Oct. 8, 2021) (denying a
motion to dismiss a Section 2 claim and considering both guideposts from Brnovich and
factors from Gingles).
                                            25
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procedures in Georgia; (4) discrimination outside the voting context in Georgia;

(5) racial appeals in campaigns in Georgia; and (6) minority candidate success in

Georgia. With the benefit of Brnovich’s guidance, the Court’s analysis remains

focused on the “touchstone” of Section 2 claims: “equal openness” to voting.

Brnovich, 141 S. Ct. at 2338.

      B.     Analysis of the Applicable Factors and Guideposts

             1.    Brnovich Guideposts

                   a)     Size of the burden imposed

      Plaintiffs have met their summary judgment burden of coming forward

with specific facts showing a genuine dispute as to whether Exact Match imposes

a burden that blocks or seriously hinders voting.

      In Brnovich, the Supreme Court recognized that “every voting rule

imposes a burden of some sort.” 141 S. Ct. at 2338. The Court also stated: “because

voting necessarily requires some effort and compliance with some rules, the

concept of a voting system that is ‘equally open’ and that furnishes an equal

‘opportunity’ to cast a ballot must tolerate the ‘usual burdens of voting.’” Id. The

Court did not enumerate the acts that constitute “usual burdens of voting,” but

it did state that having to identify one’s own polling place and then travel there


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to vote are “unremarkable burdens” that do not exceed the usual burdens of

voting. Id. at 2344. The Court further stated that “[m]ere inconvenience cannot

be enough to demonstrate a violation of § 2.” Id. at 2338.22

         In the case sub judice, Plaintiffs argue that the burdens at issue are “state

dysfunction” and “a novel set of hoops [that applicants] must jump through

before being allowed to even register to vote.” Doc. No. [627], 22–23. In contrast,

Defendants assert that failing to match records of DDS (or SSA) and being placed

in Active-MIDR status “does not impose a burden on the voter” because the

voters are placed on the rolls as active voters and can vote with the same

identification materials as other voters. Doc. No. [630], 4. Defendants argue that

an applicant placed in “pending” status based on citizenship non-match “may

still cast a ballot if he or she provides documentation on or before election day

establishing his or her citizenship, which includes a REAL ID,23 non-limited term



22 Similarly, in the voter identification law jurisprudence (which Defendants in the case
sub judice rely upon by analogy), the Supreme Court stated that: “[f]or most voters who
need [identification cards], the inconvenience of making a trip to the [Bureau of Motor
Vehicles], gathering the required documents, and posing for a photograph surely does
not qualify as a substantial burden on the right to vote, or even represent a significant
increase over the usual burdens of voting.” Crawford v. Marion Cnty. Election Bd., 553
U.S. 181, 198 (2008).
23   “In 2005, Congress enacted the REAL ID Act, Pub. L. 109-13, 119 Stat. 231. The REA[L]

                                           27
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Georgia driver’s license, among other options.” Id. (citing O.C.G.A. § 21-2-

216(g)(1); O.C.G.A. § 21-2-216(g)(2); SEB Rule 183-1-6-.06). Defendants further

argue that “at the very least, a voter who does not ‘match’ can re-register to vote

using the same name on the DDS or SSA databases.” Doc. No. [630], 5.

      The Court is unable to conclude that Defendants are entitled to summary

judgment as their arguments are based upon factual premises for which Plaintiffs

have presented evidence in opposition showing that there are genuine disputes

of material facts that will need to be resolved at trial.

      More specifically, contrary to Defendants’ assertion that voters in MIDR

status can vote by simply presenting identification, Plaintiffs have presented

evidence of at least one voter who was in the MIDR verification status and unable

to vote when the voter appeared at the polls on election day. PSMF ¶ 557.

Plaintiffs have also presented evidence showing that at least one voter was not

able to vote due to having been improperly placed in the non-citizen category.




ID Act establishes minimum federal requirements for state-issued drivers’ licenses and
identification cards to gain entry to federal facilities and board federally regulated
commercial aircrafts.” Kearns v. Cuomo, 415 F. Supp. 3d 319, 324 (W.D.N.Y. 2019), aff’d,
981 F.3d 200 (2d Cir. 2020) (citations omitted).
                                         28
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Id. ¶ 517.24 Lastly, Plaintiffs have presented evidence of a voter who tried to cure

the verification failure by re-registering and was unsuccessful. Id. ¶ 530. 25

Brnovich instructs the Court to determine whether a burden exists, and if so, the

size of that burden; at this time the Court does not make a finding of fact as to

whether a burden exists or the size of such a burden.26 Instead, the Court finds

that a genuine issue of material facts exists.




24 The Court recognizes Defendants’ traceability argument and attempt to distinguish
Plaintiffs’ evidence as “at most” a failure on the part of the county election official in not
providing a provisional ballot to the voter. Doc. No. [630], 10. However, Defendants’
argument does not take into account the voter’s statement that she was born in Virginia
(PSMF ¶ 518), which is evidence of citizenship. In essence, if the voter was improperly
in the non-citizen category, there is traceability to SOS conduct under the Court’s prior
rulings concerning standing and traceability. Doc. Nos. [612]; [617].
25  The Court recognizes Defendants’ arguments labeling Plaintiffs’ evidence as of
“limited impact” due to the small number of voters at issue. Doc. No. [630], 10. However,
at this stage of the case, it is not proper for the Court to weigh the evidence. Ga. State
Conf. of NAACP, 775 F.3d at 1343. As indicated above, the evidence at issue meets
Plaintiffs’ burden of coming forward with evidence that shows the existence of a
genuine dispute of material fact.
26 Under Brnovich and Gingles, the Court is considering whether there is a burden and
the size of the burden in conjunction with numerous other guideposts and factors. In
the Court’s previous summary judgment order on the merits, however, the Court
addressed the issue of voter-list maintenance by undertaking the Anderson-Burdick
burden-shifting analysis and thus assessing the severity of the voters’ burden against
the state’s interests in enforcing its list maintenance process. Doc. No. [617], 46–56. There,
the nature of the Anderson-Burdick analysis required the Court to determine the
severity of the alleged burden. Under Brnovich, the Court does not need to undertake
that analysis at this stage.
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      The Court also notes that a portion of Defendants’ argument is based upon

the premise that the applicants are provided notice of their verification failure

status (i.e., pending or MIDR status). But Plaintiffs have presented evidence of

flaws in the notification system such that there are genuine disputes of material

fact as to whether all applicants are notified of a verification failure. PSMF

¶¶ 499–500, 526, 528.

      Defendants’ arguments and citation of authority also do not fully address

Plaintiffs’ argument that the alleged burden is “state dysfunction” and that it is

not a “usual burden of voting,” to have to cure mistakes made by the state—even

when the voter is otherwise eligible to vote.

      Finally, the Court notes that in conducting its burden analysis in Brnovich,

the Supreme Court reviewed evidence that showed that the state “made

extensive efforts to reduce [the burden’s] impact on the number of valid votes

ultimately cast,” such that the identified burdens were “moderate” when

considering the process as a whole. Brnovich, 141 S. Ct. at 2344. In the case sub

judice, the Court is unable to conduct a similar analysis as there are genuine

disputes of material fact as to how the Exact Match process works as a whole and

in practice. See PSMF ¶ 415 (citing Doc. No. [238], 10). These disputes will need


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to be resolved by the fact-finder at trial. See Anderson, 477 U.S. at 255.

Accordingly, summary judgment is inappropriate on this guidepost.

                    b)    Deviation from standard practice in 1982

      Defendants argue that HAVA is “an extension” of longstanding voter

verification requirements, and thus enjoys the kind of “long pedigree” or

“widespread use” that is less likely to trigger a Section 2 violation. Doc. No. [623],

15–16 (citing Brnovich, 141 S. Ct. at 2339). The Court disagrees for two reasons.

      First, neither Exact Match nor HAVA has a “long pedigree.” Congress

passed HAVA in 2002 and the SOS, in response, devised Exact Match. As

Plaintiffs note, in 1982, Georgia required voter registration applicants to provide

an election registrar with “proper identification and information” that the

registrar would use to complete a simple registration card with the voter’s

identifying information. O.C.G.A. §§ 21–2–217, –221 (1982). The voter would then

take an oath swearing to or affirming their citizenship and eligibility to vote. Id.

The county registrars did not compare the information provided by the applicant

to a separate database, maintained by a different state or federal agency, which

contains potentially outdated information.




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         Indeed, far from having been long accepted, as indicated above, in 200927

the DOJ initially denied preclearance for Georgia’s “Exact Match” program.

PSMF ¶ 406; see also Doc. No. [510-14], 143–47 (Pl. Ex. 1007).

         Second, Georgia’s verification requirements in Exact Match are much

narrower than what HAVA itself requires. HAVA does not require comparison

of a registration applicant’s first name, last name, date of birth, or citizenship

information. 52 U.S.C. § 21083(a)(5). Nor does it require identifying information

to match exactly. Id.28 Finally, HAVA does not specify the consequences for a

failure to match. Id.

         For these reasons, Exact Match as it exists today is not fairly characterized

as an extension of longstanding general verification requirements. This

guidepost weighs against Defendants’ motion for summary judgment.




27Prior to the United States Supreme Court’s decision in Shelby County v. Holder, 570
U.S. 529 (2013), certain states, including Georgia, needed to seek preclearance from the
DOJ for new voting changes.
28 The Court recognizes that the Eleventh Circuit in Florida State Conference of NAACP
v. Browning assessed a system in Florida similar to Exact Match and found that its exact-
matching protocol was not preempted by the less strict, baseline requirements set by
HAVA. 522 F.3d 1153, 1175 (11th Cir. 2008). The Eleventh Circuit stated, however, that
the question of whether such an exact match system was “unjustifiably burdensome”
on voters was “an argument for another day.” Id. That is the argument the Court
considers now, so the Court finds that Browning does not directly control this question.
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                      c)    Disparate impact

         As the Court found in its previous summary judgment order, there is

evidence in the record that shows that Exact Match disproportionately affects

minority voters. Doc. No. [617], 66. Defendants now argue, however, that

“Plaintiffs’ alleged disparate impact is the same kind of small amount that does

not, itself, establish a Section 2 violation.” Doc. No. [623], 16. In Brnovich, the

Supreme Court stated that “[t]he size of any disparities in a rule’s impact on

members of different racial or ethnic groups is . . . an important factor to

consider.” 141 S. Ct. at 2339 (emphasis added). It cautioned that small disparities

may not necessarily show “that a system is not equally open or that it does not

give everyone an equal opportunity to vote.” Id. The Court further advised that

“[w]hat are at bottom very small differences should not be artificially magnified.”

Id. And it criticized the practice of “dividing one percentage by another,” which

can create a “distorted picture.” Id. (citing Frank v. Walker, 768 F.3d 744, 752 n.3

(7th Cir. 2014)).29




29 In Frank, the court gave the following example: “If 99.9% of whites had photo IDs,
and 99.7% of blacks did, the same approach would yield the statement ‘blacks are three
times as likely as whites to lack qualifying ID’ (0.3 ÷ 0.1 = 3), but such a statement would
mask the fact that the populations were effectively identical.” 768 F.3d at 753.
                                           33
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         Here, Plaintiffs provide enough evidence of “a meaningful comparison” to

weigh against granting summary judgment. Plaintiffs’ expert reviewed and

analyzed statewide voter lists, lists of individuals in MIDR status, and related

materials. Doc. No. [238], 2. He found that more than 60,000 individuals were in

MIDR status—around 1% of the total number of registered voters. Id. at 6.

Although Plaintiffs’ expert acknowledged that the key information at issue is

“the number of otherwise eligible people incorrectly placed in ‘MIDR’ status,” he

conceded that this number “is not completely and directly observable with the

available data.” Id. at 6–7 (emphasis added). Nevertheless, Plaintiffs’ expert was

certain “that the number is nonzero,” that “the verification process imposes a

burden on eligible individuals” due to errors attributable to the State, and that

“these burdens fall disproportionately on racial or ethnic minority registrants.”

See id. at 7–8. Specifically, he found that while minorities constitute around 37%

of registered voters, they account for over 76% of individuals in pending status

and almost 80% of registered voters in MIDR status. Id. at 17–20.30 Nearly 70% of




30  White non-Hispanic individuals, on the other hand, constitute around 53% of
registered voters, but they are only 14.7% of registrants in pending status and 11.4% of
registrants in MIDR status. Doc. No. [238], 17–20.
                                         34
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those in MIDR status are Black. Id. at 19. Plaintiffs’ expert also provided the rate

at which registrants are in MIDR status. Id. at 20–21. While 0.19% of white non-

Hispanic registrants are in MIDR status, over 2% of Black voters are in MIDR

status. Id. Additionally, 1.5% of Hispanic and 1.19% of Asian or Pacific Islander

registrants are in MIDR status. Id. In other words, “[m]inority registrants are

between 6 and 10 times more likely to be in MIDR status than non-Hispanic

White registrants.” Id. at 19.31 While Plaintiffs’ expert could not independently

confirm how many registrants were incorrectly placed on pending, MIDR, or a

similar status, Plaintiffs have presented evidence that some errors are attributable

to the SOS and that SOS representatives have considered the error rates to be




31 Similarly, a disproportionate number of minorities were flagged as noncitizens. Doc.
No. [238], 22–23. Because lawfully present individuals are eligible for Georgia drivers’
licenses, but new citizens are not required to update their citizenship status with DDS,
the risk of an inaccurate nonmatch is highest for naturalized citizens. Id. at 4, 7. Of the
nearly 460,000 voting-age naturalized citizens in Georgia in 2017, “over 80% . . . were
members of minority groups.” Id. at 4, 22. Plaintiffs’ expert found that, as of
January 2020, people of color comprised more than seventy-five percent of those in
“pending” status for citizenship nonmatches, even though people of color made up only
37% of active registered voters. PSMF ¶ 604. “Hispanic and Asian registrants are
massively overrepresented among pending voters: while these groups comprise only
5.7% of active registrants, they make up 31.2% of registrants in pending status.” Doc.
No. [238], 19. Again, though, Plaintiffs’ expert notes that only a few thousand total
registrants fell into this category, and he could not determine precisely how many were
incorrectly flagged as noncitizens. Id. at 22–23.
                                          35
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high. See PSMF ¶¶ 418, 420 (quoting Ryan Germany, who stated that he had seen

error rates of “20 or 30 percent,” which he stated “seems pretty ridiculous”).

      Notably, while Plaintiffs’ expert states that the more than 60,000 people in

MIDR status is not trivial, he concedes that “the percentages of individuals in the

active voter file in MIDR status or pending status is not large (on the order of 1%

of registered voters).” Id. at 6. Taking note of this fact, Defendants argue that

Plaintiffs’ evidence is insufficient because “exact match works for over 98% of

Georgia voters.” Doc. No. [630], 3. The Court agrees with Defendants that

Brnovich diminishes some of the power of Plaintiffs’ evidence concerning

disparity of impact. After all, Brnovich admonished the practice of magnifying

percentages of disparities in a manner that ignores the actual size of the

disparities. And in this case, Plaintiffs present evidence of disparate impact that,

in total, appears not to affect around 96% of voters.

      Nevertheless, as Plaintiffs argue, “VRA claims will frequently challenge

policies that have a severely destructive impact but affect only a relatively small

percentage of voters, as the VRA’s very purpose is to enfranchise traditionally

minority communities.” Doc. No. [627], 27. Moreover, the types of “distorted”

percentages used as examples in Brnovich involved instances where minorities


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were two or three times more likely to be impacted. See Brnovich, 141 S. Ct. at

2345. Here, though, Plaintiffs have shown that minorities are six to ten times

more likely than non-Hispanic whites to be placed on the relevant lists, and those

percentages concerning the disproportionality of the impact far exceed the

examples used in Brnovich. Thus, the Court finds that Plaintiffs’ expert did not

simply divide percentages in the manner described in Brnovich; instead, he

compared a group’s share of the total registered voter population to its share of

the MIDR and pending status lists.

      The Court recognizes that there is a difference between being placed in

MIDR, pending, and non-citizenship status and being incorrectly placed in such a

status. Much of Plaintiffs’ statistical evidence goes towards registrants simply

being placed in such a status, which does not necessarily mean that those

registrants were wrongly placed in that status. Still, for purposes of summary

judgment, the Court finds that Plaintiffs have presented enough evidence to

create a genuine issue of material fact by showing that minorities are

disproportionately flagged and also providing evidence of a high error rate

concerning those percentages.




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         For the above reasons, the Court finds Plaintiffs have created a genuine

issue of material fact on disparate impact. In light of Brnovich’s instructions

concerning the size of disparities, however, the Court finds that Plaintiffs’

evidence weighs only slightly against Defendants’ summary judgment motion.32

                     d)    Other available means

         Next, the Court looks to Georgia’s election system “as a whole.” Brnovich,

141 S. Ct. at 2339. Brnovich explained that “where a State provides multiple ways

to vote, any burden imposed on voters who choose one of the available options

cannot be evaluated without also taking into account the other available means.”

Id. Unlike the policies challenged in Brnovich, however, Exact Match does not

affect only one method of voting among several. There are no alternative means

of registering to vote that avoid Exact Match. All registration applications are

subject to the policy. Thus, while Defendants are right that “Georgia provides

multiple opportunities to vote besides in-person voting on Election Day” (Doc.

No. [623], 18]), that fact is of little significance when considering an issue that first

manifests not at the polls but during the registration process. Accordingly, the


32Of course, the Court is considering multiple factors and guideposts, and as even
Defendants note, this guidepost does not establish a Section 2 violation on its own. See
Doc. No. [623], 16. Thus, this guidepost need not carry Plaintiffs’ claim.
                                         38
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Court finds that the policy affects the entire system of voting in Georgia, and this

guidepost weighs against Defendants’ motion for summary judgment.

                      e)      Strength of state interest

         “[I]n determining ‘based on the totality of circumstances’ whether a rule

goes too far, it is important to consider the reason for the rule.” Brnovich, 141 S.

Ct. at 2339–40. Defendants argue they have a “‘strong and entirely legitimate

state interest’ in complying with federal law and preventing fraud in the

registration process.” Doc. No. [623], 16 (quoting Brnovich, 141 S. Ct. at 2339).

         The Court agrees that the state has a strong, legitimate interest in verifying

voter registration applications and complying with the federal requirements set

forth in HAVA. However, as mentioned supra, HAVA does not require exact

matching. 52 U.S.C. § 21083(a)(5)(B)(i) (directing state election officials to “enter

into an agreement to match” voter registration information with information in

the state motor vehicle authority database “to the extent required to enable each

such official to verify the accuracy of the information provided on applications

for voter registration”).33


33The Eleventh Circuit in Browning indicated that Exact Match may not be preempted
by HAVA, see Browning 522 F.3d at 1175, but this Court does not find that adhering to
Exact Match is necessary to comply with the lesser requirements of HAVA.
                                          39
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      Defendants also argue they have a strong interest in preventing fraud in

the registration process. The Court agrees that this is a legitimate interest. See

Brnovich, 141 S. Ct. at 2340 (“One strong and entirely legitimate state interest is

the prevention of fraud.”). However, a state cannot simply cite fraud as a state

interest for every voting rule without showing that rule prevents fraud or

otherwise legitimately furthers that state interest. The Eleventh Circuit in

Browning expressly left this question—whether “the likelihood of error

combined with the consequences are unjustifiably burdensome on the applicant

in light of other available and more error-tolerant ways of verifying identity, and

in light of the overall balance of effects on social utility”—unanswered.

Browning, 552 F.3d at 1175. While the Supreme Court stated that “Section 2 does

not require a State to show that its chosen policy is absolutely necessary or that a

less restrictive means would not adequately serve the State’s objectives,”

Brnovich, 141 S. Ct. at 2345–46, a question remains as to how verifying citizenship

against a database with admittedly outdated information or requiring an exact

match of the four other identifiers assists the State in preventing voter fraud.

Thus, Plaintiffs have created a genuine issue of material fact on whether Exact




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Match serves a strong, legitimate state interest, and this guidepost slightly

weighs against granting summary judgment.

             2.     Gingles Factors

                    a)    History of past discrimination

      As the Court noted in its previous summary judgment order, Defendants

do not contest that “prior to the 1990s, Georgia had a long sad history of racist

policies in a number of areas including voting.” Doc. No. [617], 70–71 (citing Doc.

No. [450-1], 50 n.38). The Court also takes judicial notice of this fact. See Wright

v. Sumter Cnty. Bd. of Elections & Registration, 301 F. Supp. 3d 1297, 1310 (M.D.

Ga. 2018), aff’d, 979 F.3d 1282 (11th Cir. 2020) (noting that “Georgia has a history

chocked full of racial discrimination at all levels. This discrimination was ratified

into state constitutions, enacted into state statutes, and promulgated in state

policy.”) (citations omitted).

      Accordingly, the history of past discrimination factor does not weigh in

favor of granting summary judgment.

                    b)    Racially Polarized Voting

      Under Gingles, racially polarized voting exists when there is “a correlation

between the race of voters and the selection of certain candidates. Plaintiffs need


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not prove causation or intent in order to prove a prima facie case of racial bloc

voting and defendants may not rebut that case with evidence of cause or intent.”

Gingles, 478 U.S. at 74.

      In the case sub judice, Plaintiffs rely upon the following evidence in support

of their case and to demonstrate racial bloc voting: (1) in 2002, 25% of white voters

supported the Democratic Party (PSMF ¶ 1139); (2) in the 2014 gubernatorial

election, 25% of white voters voted for the Democratic gubernatorial candidate

and 73% of white voters voted for the Republican candidate (id. ¶ 1140); (3) since

1992, between 81% and 92% of Black voters support the Democratic Party (id.

¶ 1139); and (4) in the 2014, gubernatorial election, 10% of Black voters voted for

the Republican gubernatorial candidate (id. ¶ 1140).

      Because Plaintiffs have presented evidence of racial bloc voting, summary

judgment is not warranted on this factor at this time.

                   c)      Practices and Procedures

      The third Gingles factor is effectively the same as the Brnovich third

guidepost. The Gingles factor evaluates “the extent to which the state or political

subdivision has used . . . voting practices or procedures that may enhance the

opportunity for discrimination against the minority group,” Gingles, 478 U.S. at


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37, and the Brnovich guidepost analyzes “the size of any disparities in a rule’s

impact on members of different racial or ethnic groups,” Brnovich, 141 S. Ct. at

2339. Because the Brnovich decision is more recent than Gingles and it evaluated

Arizona’s voting procedures in light of today’s election procedures, the Court

evaluates this Gingles factor using the standards set forth in Brnovich. As the

Court discussed in depth in the disparate impact section, infra section III.B.1.c,

Plaintiffs have created a genuine issue of material fact with respect to disparate

impact. Accordingly, this factor weighs against summary judgment.

                    d)    Discrimination in Other Areas

      Plaintiffs provide evidence that Georgia still experiences the effects of past

discrimination in various facets of society. See Doc. No. [339] ¶¶ 17, 93–95. The

district court in Gingles found that historic discrimination of minorities in

housing, education, employment, and healthcare led to many minorities being in

a lower socioeconomic class. Gingles, 478 U.S. at 39. The district court concluded

that this “gives rise to special group interests and hinders blacks’ ability to

participate effectively in the political process and to elect representatives of their

choice.” Id. The Supreme Court did not discuss or disrupt the district court’s

finding.


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      Here, Plaintiffs provide evidence of similar statistics as follows: twice as

many Black Georgians as white Georgians live below the poverty line (PSMF

¶ 1145); the unemployment rate for Black Georgians is double that of white

Georgians (id. ¶ 1144); Black Georgians are less likely to attain a high school or

college degree (id. ¶ 1146); and Black Georgians die of cancer, heart disease and

diabetes at a higher rate than white Georgians (id. ¶ 1141). Plaintiffs’ evidence of

the impact of past discrimination on Georgia’s current socioeconomic

demographics is similar to the evidence that the district court discussed in

Gingles. Gingles, 478 U.S. at 39. Accordingly, this factor weighs against summary

judgment.

                   e)     Racial Appeals in Campaigns

      Plaintiffs have provided evidence that racial appeals were made in recent

Georgia elections. In Gingles, the district court found, and the Supreme Court did

not discuss or disturb, that “white candidates in North Carolina have encouraged

voting along color lines by appealing to racial prejudice.” Gingles, 478 U.S. at 40.

The district court further held that “the use of racial appeals in political

campaigns in North Carolina persists to the present day and that its current effect




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is to lessen to some degree the opportunity of black citizens to participate

effectively in the political processes and to elect candidates of their choice.” Id.

      Here, Plaintiffs offer examples of racial appeals used in recent Georgia

elections. For example, Plaintiffs point to a 2014 speech (by then-Secretary of State

Brian Kemp) concerning registering minority voters. Doc. No. [481-1], 204. Other

examples of these appeals cited by Plaintiffs include a Douglas County

commissioner’s 2016 statement that “a government run by African American

leadership would ‘bankrupt you’” (PSMF ¶ 1150); a gubernatorial candidate’s

2018 driving of “a ‘deportation bus’ tour with a school bus emblazoned with the

words ‘Fill this bus with illegals’ . . . [and] [t]he back of the bus read: ‘Danger!

Murderers, rapists, kidnappers, child molesters, and others on board’” (id.

¶ 1152); and then-Secretary of State Kemp’s 2018 campaign advertisement stating

that he had “a big truck . . . Just in case I need to round up criminal illegals and

take them home myself” (id. ¶ 1152).

      Defendants argue that a number of these examples are unavailing because

the candidates were ultimately unsuccessful. Doc. No. [630], 5-6. This argument

asks the Court to weigh the evidence, which is inappropriate at this stage of the

case. See Anderson, 477 U.S. at 255. Even if the Court were to weigh the evidence,


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this factor does not require that racially polarized statements be made by

successful candidates. The factor simply asks whether campaigns include racial

appeals. Gingles, 478 U.S. at 37. Plaintiffs proffer evidence of racial appeals in

recent Georgia elections and have carried their summary judgment burden.

Accordingly, this factor weighs against summary judgment.

                   f)     Minority Candidate Success

      There remains a genuine issue of material fact about whether minority

candidates can have sustained success in statewide Georgia elections. The

Supreme Court held that just because some Black candidates have succeeded is

not dispositive of a Section 2 claim. Gingles, 478 U.S. at 76. However, courts must

consider the sustained success of Black candidates. Id. at 77. Plaintiffs argue that

only three Black candidates have been elected to non-judicial statewide offices:

Labor Commissioner Mike Thurmond in 2002 and 2006; former Attorney General

Thurbert Baker in 1998, 2002, and 2006; and Senator Raphael Warnock in 2020.

Doc. No. [627], 9. Defendants argue that these elections in addition to the

minority judges who have been elected to the Georgia Court of Appeals and the

Georgia Supreme Court show that Black candidates can have success in Georgia

elections. Doc. No. [630], 5. There remains a genuine issue of material fact about


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whether these instances of minority candidate success in statewide elections

constitute sustained success in elections. Accordingly, Plaintiffs have

demonstrated that a genuine issue of material fact exists, and this factor weighs

against summary judgment.

         C.    Summary

         The Court finds that the relevant Brnovich guideposts and Gingles factors

all weigh against granting summary judgment. Under the totality of the

circumstances, the Court finds that a genuine issue of material fact remains as to

whether Exact Match is permissible under Section 2 of the VRA. Accordingly, the

Court denies Defendants’ Renewed Motion for Summary Judgment. Doc. No.

[623].

IV.      CONCLUSION

         For the foregoing reasons, Defendants’ Renewed Motion for Summary

Judgment on Plaintiffs’ Section 2 VRA Claims (Doc. No. [623]) is DENIED.

         Pursuant to Local Rule 16.4, a proposed consolidated pretrial order shall

be filed within THIRTY DAYS of the entry of this Order. A preliminary pretrial

conference to discuss trial scheduling and other logistical matters will be held on

NOVEMBER 29, 2021 at 11:00 A.M. (Courtroom 1907, Richard B. Russell Federal


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